Case 6:21-cv-01991-RRS-PJH Document 8 Filed 12/02/21 Page 1 of 1 PageID #: 23




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION

 ROKENYE MCCARTHY,

                           Plaintiff,

                     -against-                      Civil Case Number: 6:21-cv-01991-RRS-PJH




 BUREAUS INC.,

                           Defendant.


                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the Plaintiff hereby

dismisses all claims against Defendant in the above-captioned matter, with prejudice.

         All parties shall bear their own attorneys’ fees and costs incurred in this action.

Dated:          December 2, 2021


 /s/ Yitzchak Zelman
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